         Case 1:21-cr-00670-CJN Document 96-2 Filed 07/06/22 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :      CRIMINAL NO. 21-cr-670
               v.                          :
                                           :
STEPHEN K. BANNON,                         :
                                           :
                      Defendant.           :

                                          ORDER

        Having considered the United States’ Motion for Leave to File Surreply to Defendant’s

Motion to Continue, the motion is hereby GRANTED.

        It is further ORDERED that the Clerk shall docket the United States’ Surreply in

Opposition to Defendant’s Motion to Continue.



Date:
                                                  HON. CARL J. NICHOLS
                                                  UNITED STATES DISTRICT JUDGE
